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 4                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,
                                                    No.    2:13-CR-6070-WFN-1
 7                              Plaintiff,
 8         -vs-                                     ORDER RE: SCHEDULE
                                                    FOR SENTENCING
 9
     KENNETH RICHARD ROWELL,
10
11                              Defendant.

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13         On this day, Defendant, accompanied by his attorney, Rick Hoffman, appeared and
14   entered his plea of guilty. The Government was represented by Assistant United States
15   Attorney Alexander Ekstrom. Accordingly,
16         IT IS ORDERED that:
17         1. Sentencing shall be held May 19, 2014 at 10:00 a.m., in Yakima, Washington.
18   Pending sentencing Defendant shall be DETAINED pursuant to this Court's previous
19   Order.
20         2. The United States Probation Officer shall prepare a timely presentence
21   investigation report which will comply with the following schedule:
22                (a) Not less than 35 days prior to the date set for sentencing, the Probation
23   Officer shall disclose the presentence investigation report to counsel for Defendant and the
24   Government. Within 14 days thereafter, counsel shall communicate in writing to the
25   probation office any objections they may have as to any factual errors or omissions;
26   sentencing classifications; sentencing guideline ranges; and policy statements contained in
27   or omitted from the report.        Such communication may be oral initially, but shall
28   immediately be confirmed in writing to the Probation Officer and opposing counsel.


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 1                   Objections shall be numbered and identify the paragraph(s) to which the
 2   objection applies. Objections shall address the PSR in sequential order, beginning with the
 3   lowest numbered paragraph.
 4             (b) After receiving counsel's objections, the Probation Officer shall conduct
 5   any further investigation and make any revisions to the presentence report that may be
 6   necessary. The Probation Officer may require counsel for both parties to meet with the
 7   officer to discuss unresolved factual and legal issues and counsel shall make themselves
 8   available for that purpose.
 9             (c) At least 10 days prior to the date of the sentencing hearing, the
10   Probation Officer shall submit the presentence report to the sentencing judge. The report
11   shall be accompanied by an addendum setting forth any objections counsel may have
12   made, including those that have not been resolved, together with the officer's comments
13   and recommendations thereon. The Probation Officer shall certify that the contents of the
14   report, other than sentencing recommendations, including any revisions or addenda, have
15   been disclosed to counsel for the Defendant and the Government, and that the addendum
16   fairly states any remaining objections.
17             (d) Except with regard to any written objection made under sub-division (a),
18   the report of the presentence investigation and computations shall be accepted by the Court
19   as accurate. Upon a timely objection by the Defendant, the Government bears the burden
20   of proof on any fact that is necessary to establish the base offense level. The Court,
21   however, for good cause shown, may allow a new objection to be raised at any time before
22   the imposition of sentence. In resolving disputed issues of fact, the Court may consider
23   any reliable information presented by the Probation Officer, the Defendant, or the
24   Government.
25             (e) Nothing in this Order requires the disclosure of any portions of the PSR
26   that are not disclosable under Rule 32 of the Federal Rules of Criminal Procedure.
27             (f)   The presentence report shall be deemed to have been disclosed: (1) when a
28   copy of the report is physically delivered; or (2) one day after the report's availability for


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 1   inspection is orally communicated; or (3) three days after a copy of the report or notice of
 2   its availability is mailed to counsel, whichever date is earlier.
 3                (g) Any memorandum or motion regarding sentencing must be filed and
 4   served at least 15 days prior to the date set for sentencing. The opposing party shall file
 5   and serve a response, if any, within 7 days of receipt of the motion.
 6                (h) If it is determined that the Defendant may qualify for the safety valve
 7   (5C1.2), the parties must schedule a meeting to conduct a safety valve interview to
 8   determine if the Defendant has met the requirements of U.S.S.G. § 5C1.2(a)(5) no later
 9   than 10 days prior to the sentencing hearing. Counsel may request a continuance of the
10   sentencing hearing if the ends of justice so require.
11           The District Court Executive is directed to file this Order and provide copies to
12   counsel AND TO the United States Probation Office.
13           DATED this 24th day of February, 2014.
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15                                                  s/ Wm. Fremming Nielsen
16                                                    WM. FREMMING NIELSEN
     02-24-14-2                                SENIOR UNITED STATES DISTRICT JUDGE
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     FOR SENTENCING - 3
